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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                )
                                         )
             v.                          )     CAUSE NO. 3:09-CR-100 RM
                                         )
 GILBERTO RODRIGUEZ (03)                 )


                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on November 2, 2009. Accordingly,

 the court ADOPTS those findings and recommendations [docket # 39], ACCEPTS

 defendant Gilberto Rodriguez’s plea of guilty, and FINDS the defendant guilty of

 Count 1 of the Indictment, in violation of 18 U.S.C. § 924(c).

       SO ORDERED.

       ENTERED:      December 1, 2009



                                 /s/ Robert L. Miller, Jr.
                                Chief Judge
                                United States District Court
